972 F.2d 1339
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Donald Gene HENTHORN, Tom David Riley, Plaintiffs-Appellants,v.UNITED STATES of America;  Drug Enforcement Administration;Jack Lamar Wolfe, et alii, Defendants-Appellees.
    No. 88-6330.
    United States Court of Appeals, Ninth Circuit.
    Submitted July 27, 1992.Decided Aug. 3, 1992.
    
      Before EUGENE A. WRIGHT, FARRIS and BEEZER, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      We find no abuse of discretion in the district court's dismissal without prejudice of Henthorn and Riley's complaint.   See Denton v. Hernandez, 112 S.Ct. 1728, 1734 (1992).
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  Ninth Circuit Rule 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by Ninth Circuit Rule 36-3
      
    
    